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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                     Criminal No. 07-278(10)(PAM)

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
        v.                          )   ORDER
                                    )
MONICA LORENA THOMAS,               )
                                    )
                  Defendant.        )



        This matter is before the Court on the government’s motion to

seal.     NOW, THEREFORE, IT IS HEREBY ORDERED that the government’s

motion is granted.



Dated: January      30   , 2009




                                  S/Paul A. Magnuson
                                  THE HONORABLE PAUL A. MAGNUSON
                                  United States District Judge
                                  District of Minnesota
